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%AO 442 (Rev. 10/'03) Warrant for Arrest
UNITED STATES DISTMCT;QQ ‘ _ it isn ,
`i -- .-. l :-‘ §§ ;;»:-_ §*."';:
Disn:ict of MASSACHUSEi-rs “" * § '~
" 333
UNITED STATES OF AMERIC_A w 2
,,_
V- é`:
DEMONE CoLEMAN §
case ::z~:~:z
. w l>- § ~“-'
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. <_~'"s ,“.:5
To: The Umted States Marshal _ r\) 551
and any Authorized United States Ofiieer
YoU ARE HEREBY COWNDED to arrest DEMONE 'COLE'W\N
Name
and bring him or her forthwith to the nearest rnagistrate judge to answer a(n)
Indictment [:| Infonnation E Complaint |:| Order of [:| Probation |:| Supervised Re].ease |:| Violation
court Violation Violation Petition Notiee
Petition `
charging him or her with (brief description of offense)
POSSESS|ON OF MORE THAN 5 GRAMS ol= COCA|NE BASE
in violation of Title 21 Unined states Code, sectio (s) " § '
' ` w =?:.aia§*
Nalne oflssuing Oi’iicer b §gnatm-e gflssujng Of§céaj_';_ `*)..L\ ` ~ _ `
HON. ROBERT B. COLL]NG _ _ "~ b;p""“‘ ` f ' _:
ca am 9 § mg \<. a y '-
. Date and Location u_` 7 "

me eflijlzlili§edq§{ates Disttict Court `
]ohn ]oseph Moakley United States Com'thouse
1 Couxthouse Way, Suite 7420
Boston, Massachusetts 02210

RETURN

This Warrant was received and executed With the arrest of the above-named defendant at
`\ZFQFARRANT EXECUTED 13wa d A` 630
sr AaaEsT/ARRAIGNMEI>§T p}z‘/H_tg L
'dFi=ieeR----¢-F’-='=»f--‘-` - _ ARREST[NG oFFIcER

\+II'\» l'\\‘|
NMANDTYMW `

 

 

 

 

DATE RECEIVED

 

 

 

DATE OF AR.R.EST

 

 

 

AO 442 (_`Rev. 10/03) Warrant for A.rrest

   

THE FOLLOWING IS FURNISHED FOR INFORMATION ONLY:

DEFENDANT’S NAME; DEMON_E COLE\V|AN

ALIAS:

 

LAST KNOWN RESIDENCE: 134 Greenwood Street, Dorchester, NIA '

 

LAST KNOWN EMPLOYMENT:

 

PLACE OF B[RTH:

 

DATE oF BlRTH: 04412/1979

soClAL SECURITY NUMBER: 023'50“5674

 

 

 

 

HEIGHT: WEIGHT:
sEX; Male RACE; slack
HAIR; Black EYES; Brown

 

 

SCARS, TATTOOS, OTI-[E`,R DIST]NGUISHING MARKS:

 

 

 

FBI NUi\/lBER:

 

COMPLETE DESCRIPTION OF AU_TO:

 

 

INVESTIGATIVE AGENCY AND ADDRESS: BPD

 

 

 

